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Exhibit 3 to Exhibit A

[Wrong Debtor and Modify Classification Claims]
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ENERGY FUTURE HOLDINGS CORP, et al.

TWENTY-THIRD OMNIBUS (SUBSTANTIVE): EXHIBIT 3 TO EXHIBIT A - Wrong Debtor and Modify Classification Claims

ASSERTED MODIFIED
CLASSIFICATION CLAIM CLASSIFICATION CLAIM
NAME CLAIM # DEBTOR STATUS AMOUNT DEBTOR STATUS AMOUNT
1 DELTA FABRICATIONS & 3700 No Debtor Asserted Secured $68,114.00 | Luminant Generation Unsecured $68,114.00
MACHINE INC. Company LLC
ATTN: GERALD
WILLIAMS
PO BOX 980
DAINGERFIELD, TX 75638

REASON FOR MODIFICATION: Modified Debtor reflects the Debtor(s) against which the claim is properly asserted according to the Debtors' books and records. Modified
classification reflects no evidence of perfected lien or security interest provided.

2 PROGRESSIVE WATER 5827 Energy Future Secured $34,186.32 | Luminant Generation Unsecured $34,186.32
TREATMENT Holdings Corp. Company LLC
JANET BARNHART
2535 E UNIVERSITY DR
MCKINNEY, TX 75069

REASON FOR MODIFICATION: Modified Debtor reflects the Debtor(s) against which the claim is properly asserted according to the Debtors' books and records. Modified
classification reflects no evidence of perfected lien or security interest provided.

3 WCR 7733 No Debtor Asserted Secured $50,290.00 | Sandow Power Unsecured $50,290.00
2601 W STROOP RD #100 Company LLC
DAYTON, OH 45439-1929

REASON FOR MODIFICATION: Modified Debtor reflects the Debtor(s) against which the claim is properly asserted according to the Debtors' books and records. Modified
classification reflects no evidence of perfected lien or security interest provided.

4 WESTERN MARKETING 3378 TXU Electric Company, Secured $8,019.60 | Luminant Generation Unsecured
INC Inc. Company LLC
PO BOX 147
ABILENE, TX 79604-0147

REASON FOR MODIFICATION: Modified Debtor reflects the Debtor(s) against which the claim is properly asserted according to the Debtors’ books and records. Modified
classification reflects no evidence of perfected lien or security interest provided.

$8,019.60

TOTAL $160,609.92 TOTAL $160,609.92

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